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IN THE UNITED STATES DISTRICT COURT FUBJEF:F
FOR THE WESTERN DISTRICT OF TENNESSEE
WESTERN DIVISION

 

UNITED STATES OF AMERICA

Plaintiff,
Criminal No.OS - 20\4"1 lMl

(30-Day Continuance)

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Defendant(s).

 

CONSENT ORDER ON CRIMINAL CASE CONTINUANCE
AND EXCLUSION OF TIME

 

As indicated, by the signatures below, the United States,
through its Assistant United States Attorney, and counsel for the
defendant(s) have agreed that, for good causer this case should he
continued for reasons resulting in the exclusion of time under the
Speedy Trial Act. The case is currently set on the June, 2005,
Criminal rotation calendar, but is now RESET for report at QLQQ
a.m. on Fridav, June 24, 2005, with trial to take place on the
July, 2005 rotation calendar with the time excluded under the
Speedy Trial Act through July 15, 2005. Agreed in open court at

report date this 27ch day of May, 2005.

   

Thls document entered on the docket sheef \h '
with Ru|e 55 and!or 32(b) FF\CrP on

 

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so oRDERED this 27th day af May, 2005.

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HIPPS MCCALLA

UNI D STATES DISTRICT JUDGE

0 l

A `stant United States Attorney

 

 

v

 

 

 

Counsel for Defendant(s)

 

Notice of Distribution

This notice confirms a copy of the document docketed as number 75 in
case 2:03-CR-20447 Was distributed by faX, mail, or direct printing on
June 6, 2005 to the parties listed.

ENNESSEE

 

David Pritchard

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Honorable J on McCalla
US DISTRICT COURT

